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      Fill in this information to Identify the case:

      Debtor Name: Little River Healthcare Holdings, LLC
                                                                                                                                         X   Check if this is an
      United States Bankruptcy Court for the:          Western District of Texas                                                             amended filing
      Case Number (If known):       18-60526




  Official Form 204
  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30
  Largest Unsecured Claims and Are Not Insiders                              12/15
  A consolidated list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
  which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
  holders of the 30 largest unsecured claims.


   Name of creditor and complete mailing       Name, telephone number,       Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code                 and email address of          (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               creditor contact              debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                             professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                             services, and         or disputed     setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                   Total claim, if        Deduction for      Unsecured claim
                                                                                                                   partially secured      value of
                                                                                                                                          collateral or
                                                                                                                                          setoff

  1       AMERICAN EXPRESS 1017                CONTACT: SHRADDHA              TRADE DEBTS                                                                       $3,526,254.25
          1105 LAUREL OAK RD.                  BHARATIA, CLAIMS ADMIN
          SUITE 136                            FAX: (978) 738-6942
          VOORHEES, NJ 08043                   PROOFOFCLAIM@BECKET-
                                               LEE.COM
  2       OUTREACH MANAGEMENT                  PHONE: (877) 443-5227  TRADE DEBTS                                                                               $3,402,221.94
          SOLUTIONS, LLC                       FAX: (804) 343-2704
          DBA TRUE HEALTH OUTREACH             INFO@TRUEHEALTHDIAG.CO
          6710 RESEARCH RD, SUITE 211          M
          FRISCO, TX 75033
  3       CERNER CORPORATION                   CONTACT: MARK C ELKINS         TRADE DEBTS                                                                       $1,401,434.82
          2800 ROCKCREEK PARKWAY               PHONE: (816) 201-0550
          KANSAS CITY, MO 64117                FAX: (816) 201-7057
                                               MELKINS@CERNER.COM
  4       PHARMERICA HOSPITAL PHARMACY         CONTACT: BERNARD      TRADE DEBTS                                                                                $1,362,923.86
          SERVICES, LLC DBA LUKER              RICHARDSON
          PHARMACY                             PHONE: (830) 833-4499
          1901 CAMPUS PLACE                    FAX: (830) 833-5960
          LOUISVILLE, KY 40299                 DLUKER@LUKERRX.COM;
                                               BERNARD.RICHARDSON@PH
                                               ARMERICA.COM
  5       JACOBS MARKETING, INC.                                              SETTLEMENT                                                                        $1,329,340.31
          17484 NW FREEWAY, SUITE 276
          HOUSTON, TX 77040
  6       NEXT LEVEL HEALTHCARE                CONTACT: TINA BARKSDALE        SETTLEMENT                                                                          $761,286.00
          CONSULTANTS                          PHONE: (844) 807-9734
          47 SOUTH WIND DRIVE                  TINA.BARKSDALE@NLHPART
          MONTGOMERY, TX 77356                 NERS.COM




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  Debtor: Little River Healthcare Holdings, LLC                                              Case Number (if known): 18-60526
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                                                                     professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                     services, and         or disputed     setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                           Total claim, if        Deduction for      Unsecured claim
                                                                                                           partially secured      value of
                                                                                                                                  collateral or
                                                                                                                                  setoff

  7     HING-SHEUNG EUGENE FUNG,           CONTACT: EUGENE FUNG,     SETTLEMENT                                                                           $629,153.49
        M.D., P.A.                         M.D. AND ALISON FUNG
        611 W. HIGHWAY 6, STE. 101         PHONE: (254) 755-4582
        WACO, TX 76710                     FAX: (254) 755-4585
  8     REV MD PARTNERS, LLC               PHONE: (855) 896-9990  TRADE DEBTS                                                                             $601,030.32
        1111 PASQUINELLI DR                FAX: (630) 749-4292
        SUITE 400                          SALES@REVMDPARTNERS.CO
        WESTMONT, IL 60559                 M
  9     ASCEND PROFESSIONAL                CONTACT: MARK SWARTZ      TRADE DEBTS                                                                          $600,611.77
        CONSULTING INC                     MSWARTZ@ASCENDPLANNI
        1391 CALDER AVENUE SUITE A         NG.COM
        BEAUMONT, TX 77701
  10    GE HEALTHCARE #14456               PHONE: (800) 526-3593     TRADE DEBTS                                                                          $464,883.28
        500 W. MONROE STREET               FAX: (877) 295-8102
        CHICAGO, IL 60661                  GEHCWIRE@GE.COM; CS-
                                           US@GE.COM
  11    BBL, LLC                           CONTACT: JIM CHURCH &     TRADE DEBTS                                                                          $399,316.86
        DBA BBL CONSTRUCTION SERVICES      KEVIN MOORE
        LLC                                JCHURCH@BBLINC.COM;
        302 WASHINGTON AVE EXTENSION       KMOORE@BBLINC.COM
        ALBANY, NY 12203
  12    ALIXPARTNERS HOLDINGS, LLP         PHONE: (630) 862-9384  TRADE DEBTS                                                                             $393,474.61
        2000 TOWN CENTER, SUITE 2400       KSUNDT@ALIXPARTNERS.CO
        SOUTHFIELD, MI 48075               M
  13    DML SLEEP DIAGNOSTICS, LLC                                   TRADE DEBTS                                                                          $362,436.54
        14603 HUEBNER ROAD
        BUILDING 2
        SAN ANTONIO, TX 78230
  14    ALCON LABORATORTIES, INC           CONTACT: JASON CHAVEZ  TRADE DEBTS                                                                             $349,790.16
        ALCON LABORATORIES INC PNC         PHONE: (817) 568-6580
        BANK\LOCKBOX                       FAX: (817) 568-7153
        3714 SOLUTIONS CENTER              JASON.CHAVEZ@ALCONLABS
        CHICAGO, IL 60677                  .COM
  15    GE HEALTHCARE FIN SERVICE          CONTACT: LISA M. PETERS   EQUIPMENT LEASE                                                                      $329,075.78
        P.O. BOX 641419                    PHONE: (402) 661-8609
        PITTSBURGH, PA 15264-1419          FAX: (402) 346-1148
                                           LISA.PETERS@KUTAKROCK.C
                                           OM
  16    SHI INTERNATIONAL CORP             CONTACT: GREG ROHLEDER TRADE DEBTS                                                                             $319,048.60
        290 DAVIDSON AVENUE                & JENNY FRANCIS
        SOMERSET, NJ 08873                 PHONE: (888) 235-3871
                                           GREG_ROHLEDER@SHI.COM;
                                           JENNY_FRANCIS@SHI.COM


  17    ARAMARK UNIFORM SERVICE INC        CONTACT: MIKE FADDEN,     TRADE DEBTS                                                                          $290,527.00
        115 N FIRST ST                     PRESIDENT
        BURBANK, CDA 91502                 PHONE: (888) 999-6780
                                           FAX: (859) 422-1760
                                           M.FADDEN@UNIFORM.ARA
                                           MARK.COM




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  Debtor: Little River Healthcare Holdings, LLC                                              Case Number (if known): 18-60526
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   address, including zip code             and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
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                                                                     services, and         or disputed     setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                           Total claim, if        Deduction for      Unsecured claim
                                                                                                           partially secured      value of
                                                                                                                                  collateral or
                                                                                                                                  setoff

  18    GRANT THORNTON LLP                 CONTACT: TIFFANY HARPER TRADE DEBTS                                                                            $246,257.18
        33562 TREASURY CENTER              PHONE: (312) 602-8948
        CHICAGO, IL 60694-3500             FAX: (312) 602-8099
                                           TIFFANY.HARPER@US.GT.CO
                                           M
  19    GA HC REIT II TEMPLE MOB, LLC      PHONE: (214) 916-5670     TRADE DEBTS                                                                          $231,143.40
        62781 COLLECTION CENTER DRIVE
        CHICAGO, IL 60693-0627
  20    SCI SOLUTIONS                      FAX: (408) 378-0347       TRADE DEBTS                                                                          $214,872.23
        720 THIRD AVENUE                   AR@SCISOLUTIONS.COM
        SUITE 1000
        SEATTLE, WA 98104
  21    COMPUTER PROGRAMS ANS              PHONE: (800) 711-2774     TRADE DEBTS                                                                          $202,503.11
        SYSTEMS, INC                       FAX: (251) 639-8214
        EVIDENT LLC                        SALES@EVIDENT.COM
        6600 WALL STREET
        MOBILE, AL 36695
  22    THERACOM, LLC                      PHONE: (469) 365-7619; TRADE DEBTS                                                                             $200,973.36
        ATTN: BAYER WOMEN’S                (713) 444-5709
        HEALTHCARE LLC                     CLAUDIA.FRIEDMAN@BAYER
        ATTN: CLAUDIA FRIEDMAN             .COM
        3101 GAYLORD PARKWAY, MAIL
        STOP : 2N-C155
        FRISCO, TX 75034
  23    FUJIFILM MEDICAL SYSTEMS           INFOMP@FUJIFILM.COM       TRADE DEBTS                                                                          $199,706.09
        419 WEST AVENUE, BUILDING 7
        STAMFORD, CT 06902-6300
  24    UNITED BIOLOGICS, LLC              INFO@UNITEDBIOLOGICS.CO TRADE DEBTS                                                                            $162,843.29
        DBA UNITED ALLERGY SERVICES        M
        70 NE LOOP 410, SUITE 600
        SAN ANTONIO, TX 78216
  25    CENTRAL TEXAS UROLOGY              MSTORY@LRHEALTHCARE.C     TRADE DEBTS                                                                          $142,941.03
        601 W HWY 6 STE 105                OM
        WACO, TX 76710
  26    SANOFI PASTEUR                     PHONE: (570) 957-1638   TRADE DEBTS                                                                            $139,024.20
        ATTN: JOHN HEALEY                  FAX: (866) 636-3762
        12458 COLLECTIONS CENTER DRIVE     JILL.BINGHAM@SANOFIPAST
        CHICAGO, IL 60693                  EUR.COM;
                                           JANET.VOORHEES@SANOFIP
                                           ASTEUR.COM;
                                           JOHN.HEALEY@SANOFI.COM


  27    CLINICAL PATHOLOGY                 PHONE: (254) 714-1100     TRADE DEBTS                                                                          $132,080.53
        LABORATORIES, INC.                 FAX: (254) 714-1876
        9200 WALL STREET                   INQUIRIES@CPLLABS.COM
        AUSTIN, TX 78754
  28    CENTRAL TEXAS PATHOLOGY            PHONE: (254) 752-9621  TRADE DEBTS                                                                             $126,204.66
        LABORATORY, P.A.                   FAX: (254) 752-8378
        601 HWY 6, SUITE 111               JWHITE@LRHEALTHCARE.CO
        WACO, TX 76710                     M
  29    HOLOGIC INC.                       PHONE: (508) 263-8389     TRADE DEBTS                                                                          $118,791.50
        ATTN: CYNTHIA THIERS               CYNTHIA.THIERS@HOLOGIC.
        24506 NETWORK PLACE                COM
        CHICAGO, IL 60673-1245


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                                                                     government
                                                                     contracts)
                                                                                                           Total claim, if        Deduction for      Unsecured claim
                                                                                                           partially secured      value of
                                                                                                                                  collateral or
                                                                                                                                  setoff

  30    AMERICAN REALTY CPTL               PHONE: (215) 449-3641     TRADE DEBTS                                                                          $115,896.00
        HEALTHCARE TRUST II                INFO@AR-GLOBAL.COM
        OPERATIONS HEALTHCARE TRUST,
        INC
        ATTN AR/JONATHAN DEDELLIS
        200 DRYDEN RD, STE 1100
        DRESHER, PA 19025




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